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 A New Jersey Limited Liability Partnership
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 Cherry Hill, NJ 08002-2220                                    Attorneys for Defendants,·
 (215) 569-4892                                                KVK-Tech, Inc. and Amrutham, Inc.

 NOVEL LABORATORIES, INC.,                      SUPERIOR COURT OF NEW JERSEY
                                                GENERAL EQUITY PART
                           Plaintiff,           SOMERSET COUNTY

         vs.                                    Civil Action

 MUTHUSAMY SHANMUGAM,                           DOCKET NO. NO. C-12009-11
 KVK-TECH, INC. and
 AMRUTHAM, INC.,

                           Defendants.


              CERTIFICATION OF ANTHONY P. TABASSO, ESQUIRE
      IN SUPPORT OF DEFENDANTS KVK-TECH, INC. AND AMRUTHAM, INC.'S
                MEMORANDUM OF LAW IN OPPOSITION TO THE
              MOTION TO ENFORCE SETTLEMENT AGREEMENT OF
                        NOVEL LABORATORIES, INC

          Anthony P. Tabasso, Esquire, being of full age, by way of Certification, states as follows:

         1.    I am an attorney authorized to practice law in the State of New Jersey in accordance

 with Rule 1:21-1, and am a partner with the law firm of Klehr Harrison Harvey Branzburg LLP,

 counsel. for Defendants KVK-Tech, Inc. ("KVK") and Amrutham, Inc. ("Amrutham") in the

 above-captioned action (together, "Defendants"). 1

         2.    I make this certification based on my personal knowledge of the within matter and in

 support of KVK and Amrutham's Memorandum of Law in Opposition to the Motion to Enforce

 Settlement Agreement of Novel Laboratories, Inc. ("Novel").
 1
  While Muthusamy Shanmugam is identified as a defendant in the original caption, Novei does
 not list him as a defendant in the caption of its motion to enforce settlement agreement, and does
 not seek relief against him. Mr. Shanmugam has no affiliation with KVK or Amrutham, and
 Klehr Harrison Harvey Branzburg LLP is not currently representing him in this action.


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        3.   On or about August 5, 2010, SUPREP Bowel Prep Test Kit, approved under NDA

 No. N022372 (the "Brand Product"), including the precise weights of its active ingredients, was

 listed in the FDA "Orange Book," a publication that notifies the pharmaceutical industry that

 certain drugs have been approved and may now be targeted for generic development.

        4.   The Brand Product is a liquid laxative indicated for bowel cleansing prior to an

 adult's colonoscopy.

        5.   Not long after the Brand Product was listed in the Orange Book, Amrutham

 developed a generic equivalent ( a liquid) of the Brand Product, for the purpose of submitting to

 the FDA, with KVK's assistance, an Abbreviated New Drug Application ("ANDA"), which is

 available for generic drugs that are "the same as a listed drug." See 21 CFR 314.92. Hereinafter,

 Amrutham's generic equivalent of the Brand Product is referred to as "Amiutham's ANDA

 Liquid Product."

        6.   The only difference between the Brand Product and Amrutham' s ANDA Liquid

 Product is that the Brand Product is a mixed berry flavor, while Amrutham' s ANDA Liquid

 Product is a lemon flavor.

        7.   On September 2, 2010, before Defendants submitted the ANDA for Amrutham's

 ANDA Liquid Product, Novel sent a letter to KVK, accusing Novel's former Vice President of

 Technical Operations, Muthusamy Shanmugam, of breaching his employment agreement by

 working with KVK on the development of Amrutham's ANDA Liquid Product. A true and

 correct copy of the letter that Novel's counsel, Jocelyn Jacobson, sent Marty Vepuri of KVK is

 attached hereto as Exhibit A

        8.   After KVK received Novel's letter, Mr. Shanmugam informed me that Novel's

 accusations were false, and that he never worked on or discussed the Brand Product while at




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 NoveL Nonetheless, in an abundance of caution, KVK ceased working with him. The proposed

 joint venture between him and KVK never materialized, and he has had no further involvement

 . with Amrutham's ANDA Liquid Product, or any other product ofKVK or Amrutham.

           9.   As Ms. Jacobson's September 2 letter reflects, Novel was concerned solely with the

 development of the generic equivalent of the Brand Product. This understanding was confirmed

 when I responded to Ms. Jacobson's letter on October 1, 2010. A true and correct copy of that

 letter is attached hereto as Exhibit B. I noted that "while the majority of your letter focuses on

 the [Brand Product], the letter also suggests that Mr. Shanmugam has approached KVK about

 development of unspecified 'other products.'        I can confirm that KVK h11.snot had any

 discussions with Mr. Shanmugam about any products other than the potential generic equivalent

 of the [Brand Product]." See Ex. B.

           10. On November 8, 2010, Novel filed an ANDA for its generic equivalent (a liquid) of

 the Brand Product ("Novel's ANDA Liquid Product").          As with Amrutham's ANDA Liquid

 Product, the only difference between the Brand Product and Novel's ANDA Liquid Product is

 that the Brand Product is a mixed berry flavor, while Novel's ANDA Liquid Product is a lemon·

 flavor.

           11. On November 18, 2010, Amrutham filed the     ANDAfor    Amrutham's ANDA Liquid

 Product.

           12. Faced with Novel's     continued threats and in order to obtain relief from the

 uncertainty pertaining to their legal rights, KVK and Amrutham filed a complaint in the Court of

 Common         Pleas   of Bucks   County, Pennsylvania,    Civil Action   No. 2010-11920      (the

 "Pennsylvania Action"), seeking declaratory relief that their proposed development of a generic

 equivalent of the Brand Product - i.e. Amrutham' s ANDA Liquid Product - did not violate the




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 terms of either Shanmugam's employment agreement with Novel or his confidentiality

 agreement with Novel and GAVIS. A true and correct copy of the complaint in the Pennsylvania

 Action, with all exhibits, is attached hereto as Exhibit C.

         13. Novel and GAVIS were served with the complaint in the Pennsylvania Action on

 December 1, 2010. Rather than file a timely responsive pleading in the Pennsylvania Action,

 Novel and GAVIS sought (and obtained) an extension from KVK and Amrutham. On January

 21, 2011, Novel and GAVIS filed preliminary objections to the complaint in the Pennsylvania

 Action.

         14. While KVK's response to Novel's Preliminary Objections was pending, Novel

 instituted this action on February 3, 2011 by filing a complaint, along with a motion for

 temporary restraints and preliminary injunctive relief (the "New Jersey Action").

         15. Consistent with Novel's expressed concerns regarding the generic equivalent of the

 Brand Product, Novel'_s claims in the New Jersey Action revolved solely around the

 "development of the generic equivalent of a certain brand-name drug product (the 'Product')."

 A true and correct copy of the complaint in the New Jersey Action, with exhibits, is attached

 hereto as Exhibit D.

         16. On March 9, 2011, Braintree Laboratories, Inc. ("Braintree") sued Novel in the U.S.

 District Court for the District of New Jersey, Case No. 3:ll-cv-1341,      alleging that Novel's

 ANDA Liquid Product infringed on Braintree's patent for the Brand Product (the "Braintree-

 Novel Litigation").    A true and correct copy of Braintree's complaint is attached hereto as

 Exhibit E. Novel denied that its product infringed, and asserted counterclaims alleging that

 Braintree's patent was invalid for obviousness, anticipation, and indefiniteness.    A true and

 correct copy of Novel's answer with counterclaims is attached hereto as Exhibit F.




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        17. On March 16, 2011, Braintree brought a similar action against Amrutham in the U.S.

 District Court for the Eastern District of Pennsylvania, case no. 2: ll-cv-1854 (the "Braintree-

 Amrutham Litigation"). A true and correct copy of B.raintree' s complaint is attached hereto as

 Exhibit G.

        18. Braintree and Amrutham attempted to settle the case relatively early. However,

 despite much negotiation, these efforts were ultimately unsuccessful.

        19. A significant reason that Amrutham was unwilling to settle with Braintree was that

 Braintree insisted on including KVK in any settlement agreement and by this point (September

 2012), KVK had partnered with Gator Pharmaceuticals, Inc. ("Gator") to be the licensed

 manufacturer for an entirely new. powder product with the same active ingredients as the Brand

 Product. As this powder product is a "modification of a listed drug," as opposed to "the same as

 a listed drug," KVK and Gator planned to submit a New Drug Application under Section

 505(b)(2) of the Federal Food, Drug, and Cosmetic Act for the powder product ("Gator's NDA

 Powder Product"). See 21 C.F.R. 314.54 (providing that a 505(b)(2) NDA may be submitted for

 drugs that are a "modification of a listed drug") and 314.92 (providing that an ANDA may only

 be submitted for drugs that are ''the same as a listed drug").

        20. At the time, the language of Braintree's draft settlement agreement was so broad that

 we were concerned it could go beyond Amrutham's ANDA Liquid Product at issue in the New

 Jersey Action, and could affect KVK and Gator's ability to seek FDA approval of Gator's NDA

 Powder Product as well. As a result, we were unable to settle with Braintree.

        21. On October 3, 2012, in the New Jersey Action (i.e. this case), KVK, Amrutham, and

 Novel reached a settlement which was placed on the record that day. See Transcript, a true and

 correct copy of which is attached hereto as Exhibit H. Consistent with the allegations in Novel's




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 complaint, the settlement discussions concerned only· Amrutham' s and Novel's respective

 generic equivalents of the Brand Product - i.e. Amrutham's ANDA Liquid Product and Novel's

 ANDA Liquid Product.

        22. We were careful during the settlement negotiations to ensure that the agreement

 would cover only the generic equivalent of the Brand Product (i.e. Amrutham's ANDA Liquid

 Product and not Gator's NDA Powder Product), given what had happened in discussions of a

 possible settlement of the Braintree-Amrutham Litigation.

        23. Accordingly, when Novel's counsel stated on the record that the settlement

 contemplated "that he won't be able to do formulations, etcetera and so forth," Ex. H at 6, our

 understanding was that Defendants agreed not to do different formulations of the generic

 equivalent of the Brand Product - i.e. different formulations of Amrutham's ANDA Liquid

 Product (for example, Defendants would not be permitted to manufacture a different flavor of

 Amrutham's ANDA Liquid Product).

        24. We do not consider (then or now) Gator's NDA Powder Product to be merely a

 different "formulation" of Amrutham's NDA Powder Product - for example, the application

 process to the FDA is different, and more onerous, for submission of an NOA pursuant to

 Section 505(b)(2) (which is the process for submission of Gator's NDA Powder Product) than it

 is for submission of an ANDA (which is the process for submission of Amrutham's ANDA

 Liquid Product).

        25. After the October 3, 2012 hearing, we began to negotiate the specific language of the

 settlement agreement with Novel.

        26. Contrary to Ms. Jacobson's assertions in her declaration, a large part of the delay in

 finalizing the settlement agreement was due to Ms. Jacobson's difficulty understanding the




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 concept of the Pennsylvania Confession of Judgment, which was agreed to on the record (see Ex.

 Hat 7) as a critical term of the settlement. Ms. Jacobson was insistent that she did not want a

 judgment against Novel appearing on the public record and was continually resistant to the

 Confession of Judgment despite having agreed to it on the record.

         27. Furthermore, Ms. Jacobson would not agree to the terms of the stipulation to dismiss

 the Pennsylvania Action against Novel.

         28. The drafts of the settlement agreement that the parties exchanged, true and correct

 copies of which are attached hereto as Exhibits I and J, do not show that Defendants agreed not

 to pursue FDA approval of Gator's NDA Powder Product.

         29. Our understanding of all of the language of the draft agreements was that it was to be

 consistent with the settlement agreement the parties placed on the record - that Defendants

 would not pursue any generic equivalents of the Brand Product, in other words, that Defendants

 would not submit any ANDAs for drugs that are "the same as" the Brand Product (see 21 C.F.R.

 314.92) (providing that an ANDA may only be submitted for drugs that are "the same as a listed

 drug").

         30. Gator's NDA Powder Product is not the generic equivalent of the Brand Product, and

 is not "the same as" the Brand Product.

         31. In addition; a key provision of the settlement agreement between Novel and

 Defendants, as set forth on the record, was that KVK and Amrutham would be relieved of their

 substantive obligations if "Braintree wins the patent litigation against Novel." See Ex.Hat 6.

         32. Braintree has won its litigation against Novel.




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          33. Specifically,     on Janu~ry 18, 2013, Braintree won summary judgment on its

  infringement        daim against Novel. See Opinionr a true and correct copy of which is attached

  hereto·as Exhibit K.

          34. Then, after a six:-daybench trl~l. the District.Cou1iissued a nineteen-pageopinion c>n

  June 4, 2013, holding that Novel failed to prove «by dear and convincing .evidenee that the

  asserted     claims of the •149 Pa.tent are i1wal.idas obvious, antidpated., or indefinite,''                                     See

  Opinion, a true and corrett copy of ,.vbichis attac.be-dhereto as Exhibit L.

          35. As a result1 KVK ·and A.mruthamhave no obligations m,der the settieme:ntagreement

  with Novel. See Transcript, Ex.Hat 6; see also ctrnnagreen:ienl~J,
                                                                  Exs. J and J. at§§ 2 and 5.

          36. J:n addition, even if provisions of the. clra.n~greern.enlsa.re enforceable, Novel has

  breached its nl;)ligationto notify Defondams of losing the Braintree-NovelLitig:ati.on.See d:rnJt

  agreements, Exs. I and J, at.§ 5.


             l certifv that the foregoing staternents made by me are true. I am aviarethat if any of the
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